             Case 1:18-cv-09936-LGS Document 294 Filed 11/02/20 Page 1 of 2
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November 2, 2020                                                          Hamburg          Seoul
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Hon. Lorna G. Schofield                                                   Houston          Silicon Valley
United States District Judge                                              London           Singapore
                                                                          Los Angeles      Tokyo
Southern District of New York                                             Madrid           Washington, D.C.
Thurgood Marshall U. S. Courthouse                                        Milan
40 Foley Square
New York, NY 10007


                       Re:    Jane Doe et al v. The Trump Corporation et al.
                              Case No. 18-cv-9936

Dear Judge Schofield:

      Rachel Bosley is an attorney who has joined the Los Angeles office of Latham & Watkins
LLP (hereinafter “Latham & Watkins”) from the United States District Court, Southern District of
New York, where she was a Law Clerk in your chambers. During her clerkship, Ms. Bosley
worked personally and substantially on the above-captioned matter.

        As required by Rule 1.12(c) of the Rules of Professional Conduct of the State Bar of
California, I am writing to notify the Court and the parties in this case that all lawyers affiliated
with Latham & Watkins have been informed that Ms. Bosley has been screened from participating
in or discussing this matter, and shall be apportioned no part of the fee earned therefrom, if any.
Specifically, the following procedures have been taken to screen Ms. Bosley:

                              The central file index to all files, documents, and records in
                       this matter has been marked to indicate that Ms. Bosley is to be
                       denied access thereto, and her access to any such electronic files,
                       documents, or records has been electronically restricted in the
                       document management software system.

                               A memorandum has been circulated instructing all personnel
                       that Ms. Bosley is not to have access to any of the files, documents,
                       or records in this matter, and that Ms. Bosley is neither to advise nor
                       consult with any attorney or other person with respect to any aspect
                       of this matter.
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                   Ms. Bosley will not share in any of the fees for this matter.


                                                         Respectfully submitted,

                                                         /s/ Jessica Stebbins Bina
                                                         Jessica Stebbins Bina (pro hac vice)
                                                         of LATHAM & WATKINS LLP



Cc: All Counsel of Record (via ECF)
